            Case 2:25-cv-00241-BHS           Document 71        Filed 03/12/25      Page 1 of 2




 1                                                       THE HONORABLE BENJAMIN H. SETTLE

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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9    COMMANDER EMILY SHILLING, et al.,                       No. 2:25-cv-241-BHS

10                  Plaintiffs,                               RESPONSE TO THE COURT’S
                                                              ORDER
11          v.

12    DONALD J. TRUMP, in his official capacity as
      President of the United States, et al.,
13
                    Defendants.
14

15          The Court’s March 12, 2025 Minute Order requires Defendants “to submit a copy of the

16   Acting Assistant Secretary of Defense for Manpower and Reserve Affairs’ Action Memo, dated

17   February 26, 2025, with the subject Implementing Guidance for Prioritizing Military Excellence

18   and Readiness Executive Order (EO), (hereinafter action memo), as well as the entirety of any

19   studies or data that the action memo cites, including:

20         Accession Medical Standards Analysis and Research Activity (AMSARA) Report,

21          Analysis of Medical Administrative Data on Transgender Service Members, July 14, 2021.

22         Office of the Assistant Secretary of Defense for Health Affairs Literature Review: Level

23          of Evidence for Gender-Affirming Treatments.”

24          Accordingly, Defendants hereby attach the following:

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     RESPONSE TO THE COURT’S                                                             U.S. DEPARTMENT OF
     ORDER                                                                                      JUSTICE
     CASE NO. 2:25-CV-241-BHS                                                               1100 L Street NW
                                                                                          Washington, DC 20530
           Case 2:25-cv-00241-BHS       Document 71        Filed 03/12/25     Page 2 of 2




 1   Exhibit 1       Timothy Dill (performing the duties of the Assistant Secretary of Defense for
                     Manpower & Reserve Affairs), Action Memo: Implementing Guidance for
 2
                     Prioritizing Military Excellence and Readiness Executive Order (EO) (Feb.
 3                   26, 2025) (the “Action Memo”).
     Exhibit 2       Action Memo Tab 11 – Sec’y of Defense, Military Service by Transgender
 4                   Individuals (Feb. 22, 2018).
     Exhibit 3       Action Memo Tab 12 – Accession Medical Standards Analysis and Research
 5                   Activity (AMSARA), Analysis of Psychological Stability as a Factor in
                     Determining Medical Accession Standards for Transgender Individuals (July
 6
                     14, 2021).
 7   Exhibit 4       Action Memo Tab 13 - Office of the Assistant Secretary of Defense for Health
                     Affairs, Literature Review: Level of Evidence for Gender-Affirming Treatments
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 9
     DATE: March 12, 2025           Respectfully submitted,
10
                                    YAAKOV M. ROTH
11                                  Acting Assistant Attorney General

12                                  ALEXANDER K. HAAS
                                    Director, Federal Programs Branch
13
                                    JEAN LIN
14                                  Special Litigation Counsel

15                                  /s/ Jason C. Lynch
                                    JASON C. LYNCH
16                                  JOHN ROBINSON
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                                    United States Department of Justice
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21                                  Attorneys for Defendants

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     RESPONSE TO THE COURT’S                                                        U.S. DEPARTMENT OF
     ORDER                                                                                 JUSTICE
     CASE NO. 2:25-CV-241-BHS                                                          1100 L Street NW
                                                                                     Washington, DC 20530
